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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors.1                           (Jointly Administered)



             NOTICE OF AMENDMENT NO. 4 TO THE SENIOR SECURED
           SUPER PRIORITY DEBTOR IN POSSESSION LOAN AGREEMENT

         PLEASE TAKE NOTICE that on August 10, 2023, the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”) filed the Motion of the Debtors for Interim and

Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the

Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No.

19] (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that a copy of the Senior Secured Super Priority

Debtor in Possession Loan Agreement dated as of August 9, 2023 (the “DIP Credit Agreement”)

was filed with the Bankruptcy Court on August 10, 2023 at Docket No. 40-1.2

         PLEASE TAKE FURTHER NOTICE that the Debtors have entered Amendment No. 4

to Senior Secured Super Priority Debtor in Possession Loan Agreement (the “Amendment No. 4”),

attached hereto as Exhibit A.



1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.
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    A capitalized term used but not defined herein shall have the meaning ascribed to it in the DIP Credit Agreement.



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 Dated: October 12, 2023                 PACHULSKI STANG ZIEHL & JONES LLP

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